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                      IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

 AGUDATH ISRAEL OF AMERICA, a New
 York non-profit corporation, and WR
 PROPERTY LLC, a New Jersey limited            Civ. No. 3:17-CV-03226
 liability company,

                          Plaintiffs,

 v.

 TOWNSHIP OF JACKSON, NEW JERSEY,
 MICHAEL REINA, ROBERT NIXON,
 HELENE SCHLEGEL, JEFFREY PURPURO,
 WILLIAM CAMPBELL, and KENNETH
 PIESLAK,

                          Defendants.



            MOTION FOR PRELIMINARY INJUNCTION PURSUANT TO
                  FEDERAL RULE OF CIVIL PROCEDURE 65




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    COME NOW Plaintiffs and move this Court for a Preliminary Injunction pursuant to Rule 65

of the Federal Rules of Civil Procedure seeking preliminary orders as follows:

           1.   Enjoining Defendants, TOWNSHIP OF JACKSON, NEW JERSEY, MICHAEL

                REINA, ROBERT NIXON, HELENE SCHLEGEL, JEFFREY PURPURO,

                WILLIAM CAMPBELL, and KENNETH PIESLAK, from enforcement and

                application of Ordinances 03-17, 04-17 and 20-17.

           2. Enjoining Defendants, TOWNSHIP OF JACKSON, NEW JERSEY, MICHAEL

                REINA, ROBERT NIXON, HELENE SCHLEGEL, JEFFREY PURPURO,

                WILLIAM CAMPBELL, and KENNETH PIESLAK, from monitoring,

                surveilling, targeting, harassing and interfering with the constitutionally protected

                right of the Orthodox Jewish residents of the Township of Jackson to the free

                exercise of religious beliefs within the privacy of their own homes for the gathering

                of people for religious services.

           3. An Order granting such other, further and different relief that this Court deems

                appropriate.

       Plaintiffs do hereby incorporate their Memorandum and Declarations submitted in support

of this Motion as well as Plaintiffs’ Second Amended Complaint (Dkt. #40).

       Plaintiffs request oral argument with respect to this Motion pursuant to Local Rule 78.1.



Dated: September 6, 2019




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 6th day of September, 2019, the foregoing document,

supporting Declarations, Exhibits, Memorandum and proposed form of Order were electronically

filed via the Court’s ECF system with notices to the following:

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